Case 2:20-cv-07274-GW-JPR Document 12-1 Filed 08/14/20 Page 1 of 4 Page ID #:88




   1 KELLY KLAUS (SBN 161091)
     Kelly.Klaus@mto.com
   2 ROSE LEDA EHLER (SBN 296523)
     Rose.Ehler@mto.com
   3 MUNGER, TOLLES & OLSON LLP
     350 South Grand Avenue, Fiftieth Floor
   4 Los Angeles, California 90071
     Telephone: (213) 683-9100
   5 Facsimile: (213) 687-3702
   6 LAUREN E. ROSS (pro hac vice pending)
     Lauren.Ross@mto.com
   7 MUNGER, TOLLES & OLSON LLP
     1155 F Street, NW, Seventh Floor
   8 Washington, D.C. 20004
     Telephone: (202) 220-1100
   9 Facsimile: (202) 220-2300
  10 Attorneys for Plaintiffs
  11
                            UNITED STATES DISTRICT COURT
  12
                          CENTRAL DISTRICT OF CALIFORNIA
  13
                                     WESTERN DIVISION
  14
  15
     DISNEY ENTERPRISES, INC.;                   Case No. 2:20-cv-07274-GW-JPR
  16 PARAMOUNT PICTURES
     CORPORATION; AMAZON
  17 CONTENT SERVICES LLC;                       [PROPOSED] PRELIMINARY
     WARNER BROS. ENTERTAINMENT                  INJUNCTION
  18 INC.; UNIVERSAL CITY STUDIOS
     PRODUCTIONS LLLP; UNIVERSAL
  19 CONTENT PRODUCTIONS LLC;                    Judge:       Hon. George H. Wu
     NETFLIX STUDIOS, LLC;                       Date:        September 17, 2020
  20 COLUMBIA PICTURES
     INDUSTRIES, INC.; and                       Time:        8:30 a.m.
  21 STUDIOCANAL S.A.S.,                         Courtroom:   9D
  22              Plaintiffs,
                                                 Filed concurrently herewith:
  23        vs.                                  (1) Motion for Preliminary Injunction
                                                 (2) Declaration of Jan van Voorn
  24 TTKN ENTERPRISES, LLC d/b/a                 (3) Declaration of Steve Kang
     CRYSTAL CLEAR MEDIA; TODD
  25 SMITH; and TORI SMITH,                      (4) Declaration of Rose Leda Ehler
  26              Defendants.
  27
  28
                                                                    Case No. 2:20-cv-07274-GW-JPR
                                [PROPOSED] PRELIMINARY INJUNCTION
Case 2:20-cv-07274-GW-JPR Document 12-1 Filed 08/14/20 Page 2 of 4 Page ID #:89




   1         Upon reviewing the legal argument and evidence filed by Plaintiffs Disney
   2 Enterprises, Inc., Paramount Pictures Corporation, Amazon Content Services LLC,
   3 Warner Bros. Entertainment, Inc., Universal Studios Productions LLLP, Universal
   4 Content Productions LLC, Netflix Studios, LLC, Columbia Pictures Industries, Inc.,
   5 and Studiocanal S.A.S. (collectively, “Plaintiffs”), in support of their Motion for
   6 Preliminary Injunction (“Motion”); and having reviewed legal argument and
   7 evidence filed by Defendants TTKN Enterprises, LLC d/b/a Crystal Clear Media,
   8 Todd Smith and Tori Smith (collectively, “Defendants”) in opposition thereto; and
   9 having reviewed all reply materials and all argument of counsel; the Court
  10 HEREBY FINDS AND ORDERS as follows:
  11         The standard for preliminary injunctive relief is met:
  12         (1) Plaintiffs are likely to prevail on the merits of their claims that Defendants
  13 are engaging in both direct and secondary infringement of Plaintiffs’ copyrighted
  14 works (the “Copyrighted Works”).
  15         (2) Plaintiffs are also likely to suffer irreparable harms if Defendants are not
  16 enjoined, including interference with Plaintiffs’ ability to control their Copyrighted
  17 Works, interference with Plaintiffs’ goodwill and relationships with licensees, harm
  18 to the rapidly evolving market for online streaming services, and the creation of
  19 consumer confusion about that market.
  20         (3) The balance of hardships tips decidedly in Plaintiffs’ favor. The threat of
  21 irreparable harm to Plaintiffs is substantial. Defendants, in contrast, cannot claim
  22 any legitimate hardship from being forced to desist from their infringing activities.
  23         (4) The public interest also weighs in favor of issuing the preliminary
  24 injunction because it is served by upholding Plaintiffs’ control over their copyrights
  25 and the legitimate marketplace.
  26         Accordingly, Defendants—and all individuals who serve as Defendants’
  27 officers, agents, servants, employees and attorneys, and other persons who are
  28 acting in active concert or participation with Defendants, their officers, agents,

                                                 -1-                  Case No. 2:20-cv-07274-GW-JPR
                                [PROPOSED] PRELIMINARY INJUNCTION
Case 2:20-cv-07274-GW-JPR Document 12-1 Filed 08/14/20 Page 3 of 4 Page ID #:90




   1 servants employees or attorneys—ARE HEREBY PRELIMINARILY
   2 RESTRAINED AND ENJOINED as follows:
   3        1.     Defendants will no longer directly or secondarily, infringe any of
   4 Plaintiffs’ Copyrighted Works through any means including publicly performing,
   5 reproducing, or otherwise infringing in any manner (including without limitation by
   6 materially contributing to or intentionally inducing the infringement of) any right
   7 under 17 U.S.C § 106 in any of Plaintiffs’ Copyrighted Works by continuing to
   8 operate the CCM Platforms or by any other means.
   9        2.     Defendants may not knowingly take any action for the purpose or that
  10 has the effect of circumventing the requirements of the Preliminary Injunction.
  11        IT IS FURTHER ORDERED that GoDaddy Inc. and One.com, the respective
  12 domain name registrars for the mediahosting.one, crystalcleariptv.com,
  13 ccmedia.one, ccbilling.org, cciptv.us, ccreborn.one, ccultimate.one,
  14 superstreamz.com and webplayer.us domain names (“Infringing Domain Names”),
  15 as well as all others who receive notice of the Court’s order, are enjoined from
  16 allowing the Infringing Domain Names to be modified, sold, transferred to another
  17 owner, or deleted. Such entities are further ordered to disable access to the
  18 Infringing Domain Names. As part of accomplishing this, these entities shall take
  19 the following steps:
  20        1.     Maintain unchanged the WHOIS or similar contact and identifying
  21 information as of the time of receipt of this Order and maintain the Infringing
  22 Domain Names with the current registrar;
  23        2.     Prevent transfer of the Infringing Domain Names and any further
  24 modification of any aspect of the domain registration records of the Infringing
  25 Domain Names by Defendants or third parties at the registrar or by other means; and
  26        3.     Preserve all evidence that may be used to identify the persons using the
  27 Infringing Domain Names.
  28

                                               -2-                  Case No. 2:20-cv-07274-GW-JPR
                                [PROPOSED] PRELIMINARY INJUNCTION
Case 2:20-cv-07274-GW-JPR Document 12-1 Filed 08/14/20 Page 4 of 4 Page ID #:91




   1         IT IS FURTHER ORDERED, that Plaintiffs may complete service of
   2 process on Defendants and any Resellers known to be acting in concert of this Order
   3 by Overnight Mail. Upon receipt of a copy of this Order, these individuals and
   4 entities shall cease directly or secondarily infringing any of Plaintiffs’ Copyrighted
   5 Works through any means including publicly performing, reproducing, or otherwise
   6 infringing in any manner (including without limitation by materially contributing to
   7 or intentionally inducing the infringement of) any right under 17 U.S.C § 106 in any
   8 of Plaintiffs’ Copyrighted Works by continuing to provide access to the CCM
   9 Platforms or by any other means.
  10
  11 DATED:
  12
  13
                                            By:
  14
                                                  The Honorable George H. Wu
  15                                              United States District Court Judge
  16
  17
  18
  19
  20
  21
  22
  23
  24
  25
  26
  27
  28

                                                  -3-               Case No. 2:20-cv-07274-GW-JPR
                                [PROPOSED] PRELIMINARY INJUNCTION
